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                                                 United States District Court
                                                 Northern District of Illinois

In the Matter of

 Sergio Bonilla                                                District Judge Virginia M. Kendall
                          v.                                                   Case No. 21-CV-51
                                                                             Designated Magistrate Judge
 Peopleconnect, Inc., et al                                                          Heather K. McShain



                               FINDING OF RELATEDNESS PURSUANT TO
                                          LOCAL RULE 40.4

   In accordance with the provisions of Local Rule 40.4 of this Court, I find the above captioned
case, presently pending on the calendar of Judge Martha Pacold to be related to 20 C 7390
which is pending on my calendar. Accordingly, I request that the Executive Committee order
said case to be reassigned to my calendar as a related case.



                                                            ________________________________
                                                                  Judge Virginia M. Kendall

Date: Tuesday, March 2, 2021



                               ORDER OF THE EXECUTIVE COMMITTEE

   IT IS HEREBY ORDERED that the above captioned case be reassigned to the calendar of
Judge Virginia M. Kendall


                                                       ENTER

                                     FOR THE EXECUTIVE COMMITTEE




                                                            _____________________________________
                                                             Chief Judge Rebecca R. Pallmeyer
Dated:Tuesday, March 2, 2021

District Reassignment - Finding of Relatedness
